









Dismissed and Opinion filed August 15, 2002









Dismissed
and Opinion filed August 15, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00560-CR

____________

&nbsp;

DOUGLAS HUFF FLORES, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
183rd District Court

Harris County,
Texas

Trial Court Cause
No. 900,159

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
pled guilty to the offense of possession of a controlled substance on May 24,
2002.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant to 9
years= confinement in the Texas Department
of Criminal Justice, Institutional Division.&nbsp;
As part of the plea bargain agreement, appellant signed a written waiver
of his right to appeal.&nbsp; Because
appellant has waived his right to appeal, we dismiss. 








Appellant
pled guilty and the trial court followed the plea bargain agreement in
assessing punishment.&nbsp; Despite having
waived the right to appeal, appellant filed a notice of appeal.&nbsp; Appellant chose to enter into an agreement
that included a waiver of the right to appeal.&nbsp;
Appellant was informed of his right to appeal, knew with certainty the
punishment he would receive, and that he could withdraw his plea if the trial
court did not act in accordance with the plea agreement.&nbsp; As appellant was fully aware of the
consequences when he waived his right to appeal, it is Anot unfair to expect him to live with
those consequences now.@&nbsp; Alzarka v. State,
60 S.W.3d 203, 206 (Tex. App.BHouston [14th Dist.] July 26, 2001, pet. granted) (quoting
Mabry v. Johnson, 467 U.S. 504, 104 S.Ct. 2543, 2547-48, 81 L.Ed.2d 437
(1984)).&nbsp; See also Blanco v. State,
18 S.W.3d 218, 219-20 (Tex. Crim. App. 2000); Buck v. State, 45 S.W.3d
275, 278 (Tex. App.CHouston [1st Dist.] 2001, no pet.).&nbsp; 

Appellant
filed a motion to retain this appeal, claiming that he pled guilty with the
intent to appeal the denial of a meritorious pretrial motion; however, the
record does not reflect this.&nbsp; Instead,
appellant signed the plea bargain which included the following statement: AFurther, I waive any right of appeal
which I may have should the court accept the foregoing plea bargain agreement
between myself and the prosecutor.@&nbsp;
We deny the motion to retain. 

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

Judgment rendered and Opinion filed August 15, 2002.

Panel consists of Justices Edelman, Seymore, and
Guzman.

Do Not Publish C Tex. R. App. P. 47.3(b).





